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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



  In Re: New York City Policing During              CIVIL ACTION NO. 20 Civ. 8924
  Summer 2020 Demonstrations                        (CM)




  This filing is related to:                        PROPOSED
  People, Payne, Gray, and                          CONFIDENTIALITY
  Rolon                                             STIPULATION AND ORDER
                                                    GOVERNING THE
                                                    EQUITABLE SETTLEMENT
                                                    AGREEMENT


       WHEREAS, the parties in People, Payne, Gray, and Rolon have entered into a Settlement

Agreement regarding equitable relief sought in the above-referenced Action on September 5, 2023

(hereinafter referred to as “the Agreement”); and

       WHEREAS, the Court endorsed that Agreement on February 7, 2024, ECF No. 1147 and

accordingly dismissed those claims with prejudice on April 17, 2024, ECF No. 1167; and

       WHEREAS, pursuant to the terms of the Agreement, the Court will continue to retain

jurisdiction over this Agreement; and

       WHEREAS, the parties have agreed to the formation of a Collaborative Committee to

review the NYPD’s implementation of the terms of the Agreement; and

       WHEREAS, as part of that Agreement, the City Defendants have agreed to produce

documents to the New York City Department of Investigation (“DOI”), as well as certain

documents to the Plaintiffs; and

       WHEREAS, as part of that Agreement, DOI may share certain documents it receives as

part of the Agreement with the parties thereto and other members of the Collaborative Committee;

and

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        WHEREAS, the parties share a desire for the Collaborative Committee to work

 productively and candidly; and

        WHEREAS, the City Defendants have an interest in preventing the inappropriate use of

 information learned or documents obtained by parties to the Agreement, including an attorney of

 record for that party and any member of staff of that attorney’s office, or experts and consultants

 specifically retained by them to assist in the oversight phase, and members of the Collaborative

 Committee; and

        WHEREAS, the term “Consolidated Cases” is defined below; and

        WHEREAS, the parties seek to ensure that the confidentiality of these documents and

 information remain protected from inappropriate disclosure; and

        WHEREAS, good cause therefore exists for the entry of an order pursuant to Rule 26(c)

 of the Federal Rules of Civil Procedure,

        THE COURT HEREBY ORDERS THAT:

        1.      As used herein, “Consolidated Cases” shall mean the following related cases

 pending before this Court:

                a. Payne, et al. v. Mayor Bill de Blasio et al., No. 20-cv-8924;

                b. People of the State of New York v. City of New York et al., No. 21-cv-322;

                c. Gray et al. v. City of New York, et al., 21-cv-6610; and

                d. Rolon et al. v. City of New York, et al., 21-cv-2548.


       2.      “Plaintiffs” refers to any plaintiffs in any of the Consolidated Cases.

       3.      Pursuant to Paragraph 104 of the Settlement Agreement, and all definitions therein,
the Collaborative Committee shall be comprised of:

                  a.   The Commissioner of the Department of Investigation;

                  b.   The FAA Senior Executive;

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                     c.     A representative of the Office of Corporation Counsel;

                     d.     A representative from an Intervenor Union 1;

                     e.     A representative from the Office of the Attorney General; and

                    f. Two attorneys from the Plaintiffs’ attorneys in the Consolidated Cases as
             defined above.


           4.     “Producing Party” shall mean the party requesting that a particular document or the

    information contained therein be deemed confidential, and “Receiving Party” shall mean any

    party to the Consolidated Cases or member of the Collaborative Committee who is not the

    “Producing Party,” as defined herein for that document or information.

           5.      “Confidential Information” shall mean information, documents, or media shared by

    any party to the Consolidated Cases with a Receiving Party or any member of the Collaborative

    Committee or their agent or employee or expert or consultant (hereinafter referred to as

    “Committee Member”) except as follows:

                   a. Any information that has been obtained through a New York Freedom of

                          Information Law (FOIL) request, or information that is otherwise publicly

                          available or has been publicly disclosed, such as general information regarding

                          FAAs and enforcement at FAAs; 2

                   b. Information obtained independently of Producing Party even if such material

                          was also provided by the Producing Party;




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    Intervenor Unions are defined as parties to the Agreement, meaning the SBA and the DEA.
2
  As set forth in the Agreement, “FAAs” or “First Amendment Activity,” shall refer to any protest or
demonstration at which individuals are expressing their rights under the First Amendment to the United States
Constitution and Article I, Section 8 of the New York State Constitution. A protest and a counter-protest in
the same general location shall be considered a single FAA for purposes of the Agreement.

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               c. Any information shared by any party or member of the Collaborative

                   Committee if the Producing Party agrees that the information should not be

                   confidential;

               d. Any information the Office of the Attorney General (“OAG”) determines in

                   good faith that such disclosure is required by law, judicial order, decree or

                   ruling, such as any disclosure required by Sections 84 through 90 of the New

                   York Public Officers Law and 13 N.Y.C.R.R. Section 120. The OAG shall

                   provide as much advance notice to the Members of the Collaborative

                   Committee as is reasonably possible under the circumstances before disclosure

                   of such information.

      6.       Any communications, recommendations, or discussions made exclusively for or

during the Collaborative Committee meetings shall be confidential except as provided in paragraph

5 of this Confidentiality Stipulation and Order, relevant portions of paragraphs 119 and 121 of the

Agreement, or as agreed to by all members of the Collaborative Committee.

       7.      No Receiving Party may share Confidential Information in any way outside the

scope of their duties and involvement in the Oversight process. Attorneys for a Receiving Party

shall not disclose the Confidential Information to any person other than to a party, an attorney of

record for that party or any member of the staff of that attorney’s office, or experts and consultants

specifically retained by them to assist in the Oversight phase, provided that all such individuals

sign appendix A to this Confidentiality Stipulation and Order agreeing that they will not disclose

such material or use it for any purpose other than to engage in the Collaborative Process and

Oversight phase as set forth herein and the Agreement.

       8.      In the event that any party makes a motion pursuant to the terms of this Agreement,

to the extent that it wishes to attach or reference Confidential Information in such a motion, it shall

give five (5) days’ notice to the Producing Party of its intention to use Confidential Information
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and its justification therefore. If the Producing Party wishes to have the identified Confidential

Information submitted under seal, it shall have ten (10) days to seek permission to file papers under

seal in accordance with the Court’s individual practices and shall indicate whether any party

objects to that request. This Court will review any Confidential Information in camera.

       9.      The Agreement directs DOI to file two reports (at Month 30 and Month 36) with

the Court. The DOI may use Confidential Information in its reports filed with the Court, but such

information shall be altered or redacted to avoid revealing privileged information or the identity

of any NYPD employee. Once DOI discloses Confidential Information in these reports, it is no

longer confidential.

       10.     Any party to this Confidentiality Stipulation and Order shall have the right to

petition this Court to enforce its terms.

       11.     Every Committee Member must be a signatory to this Confidentiality Stipulation

and Order to participate in the Collaborative Committee in any way.

       12.     This Confidentiality Stipulation and Order enhances but does not in any other way

revoke, supersede, or modify any prior Confidentiality Stipulations and/or Orders from this Court

or written agreements among the parties.

       13.     During the Agreement and thereafter, this Court shall retain jurisdiction over all

persons subject to this Confidentiality Stipulation and Order to the extent necessary to enforce any

obligations arising hereunder or to impose sanctions for any contempt thereof.

       14.     Willful violation of the terms of this Confidentiality Stipulation and Order may

result in appropriate sanctions to be determined and imposed by the Court.

       15.     The Producing Parties shall designate documents Confidential Information by

watermarking and/or by designating such Confidential Information in a writing as

“CONFIDENTIAL ONLY FOR USE BY COLLABORATIVE COMMITTEE, 20-CV-8924.”

       16.     The disclosure of documents or information without designating it as Confidential
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Information shall not constitute a waiver of the right to do so post-production. The Producing

Party reserves the right to designate any material as confidential pursuant to this Confidentiality

Stipulation and Order if necessary, after production of such documents. If so designated, the

document or information shall thenceforth be treated as Confidential Information subject to all the

terms of this Confidentiality Stipulation and Order. Individuals who reviewed the non-designated

material prior to notice of their new confidential designation shall abide by the provision of this

Confidentiality Stipulation and Protective Order with respect to all future use and disclosure of

said material.

       17.       This Confidentiality Stipulation and Order will survive the termination of the

Agreement and this Court’s jurisdiction in the above-captioned actions and will continue to be

binding upon all persons with Confidential Information. All documents or information that have

been designated Confidential Information pursuant to this Confidentiality Stipulation and Order,

including all copies and non-conforming copies thereof, shall remain confidential for all

time. Once the Agreement has terminated, the Confidential Information, including all conforming

or non-conforming copies thereof, shall not be used by Plaintiffs, or anyone receiving the

Confidential Information for any purpose.

       18.       This Confidentiality Stipulation and Order may be executed in counterparts, and

when each party has signed and delivered at least one such counterpart, each counterpart shall be

deemed an original, and, when taken together with other signed counterparts, shall constitute one

Confidentiality Stipulation and Order, which shall be binding upon and effective as to all Parties.

The signed counterpart shall be deemed the “original” for the purpose of signing this

Confidentiality Stipulation and Order pursuant to Rule 5 of the Federal Rules of Civil Procedure.

       19.       Within 30 days after the termination of this Agreement, including any appeals, the

Confidential Information, including all copies (other than the Court’s copies of such Confidential

Information), shall be returned to the Producing Party or, upon the Producing Party’s consent,
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 destroyed; except that the Receiving Party(s) may retain one copy of the Confidential

 Information, and any Confidential Information containing plaintiff attorney work product

 (including but not limited to, notes, and other materials containing or referring to the contents of

 Confidential Information), to the extent required to comply with applicable law or regulation, so

 long as appropriate and reasonable safeguards (at least as stringent as those used to protect the

 Receiving Party’s own information of similar nature) are imposed to prevent the use of the

 Confidential Information for any other purpose. Confidential Information which was uploaded

 to a database or review platform, including any backups, and which cannot reasonably be deleted,

 must be quarantined and secured to prohibit access to the Confidential Information and shall also

 be safeguarded by the Receiving Party in the same manner as described in this paragraph.



SO ORDERED:


                                                                     _________________________
                                                                     Hon. Colleen McMahon
                                                                     United States District Judge



Dated: ________________
       New York, New York




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                                          APPENDIX A

The undersigned hereby acknowledges that they have read the Confidentiality Stipulation and Order

Governing the Equitable Settlement Agreement issued in the following specific actions:


        a.      Payne, et al. v. Mayor Bill de Blasio et al., No. 20-cv-8924;

        b.      People of the State of New York v. City of New York et al., No. 21-cv-322;

        c.      Gray et al. v. City of New York, et al., 21-cv-6610; and

        d.      Rolon et al. v. City of New York, et al., 21-cv-2548.


The undersigned understands the terms of said Confidentiality Stipulation and Order and agrees to

abide by those terms, including but not limited to the duty to not use the Confidential Information

defined therein for any purpose other than as permitted by the Confidentiality Stipulation and

Order, and will not further disclose the Confidential Information except as provided therein.



Date: _________________                                Signature: ________________________



                                                       Print Name:_________________________




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